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                         UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                       :       Case No. 24-11601-amc
  IN RE: Chris Cinkaj,                 :       Chapter 13
                                       :
                                       :       DEBTOR’S MOTION FOR
                 Debtor                :       VOLUNTARY DISMISSAL OF
                                       :       CHAPTER 13 CASE

                                            ORDER

   AND NOW, upon review of Debtor’s Motion for Voluntary Dismissal of Chapter 13

   Case, it is ORDERED the case is DISMISSED without Prejudice



                                           BY THE COURT:



 Date: Oct. 2, 2024
                                       HONORABLE ASHELY M CHAN
